Case 2:04-cr-20486-BBD Document 21 Filed 07/15/05 Page 1 of 5 lF’age||§)- 30
UN|TED STATES DISTR|CT COURT

wEsTERN DlsTRlc'r oF TENNEssEE 'F"£° B` “"“" D'c'

MEMPl-ns plvlsloN 05 JUL m PH |2, 25
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_v_ 2:04cR204as-01-o CLEWH@; %§:if;i.,;gtpjj::s:

ANDERSON M. THOMPSON
Marvin E. Ba|lin Retained
Defense Attorney
200 Jefferson Ave., Ste. 1250
Memphis, TN 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 5 of the lndictment on March 24, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section wm Offense M(§l
QQM
18 U.S.C. § 1709 Theft of Mai| Matter by an Emp|oyee 07/23/2004 5

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

Count(s) 1-4 are dismissed on the motion of the United States.
lT lS FU RTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant's Date of Birth: 09)'06/1949 June 22, 2005
Deft’s U.S. Nlarsha| No.: 20054-076

Defendant's Mai|ing Address:
3596 Nelia Cove
|Vlemphis, TN 38116

    

ERNICE B. DONALD
UNlTED STATES D|STRICT JUDGE

July ff , 20

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his document entered on the docket shea l
th Rule 55 and/or 32(b) FP.CrP on O/S

Case 2:04-cr-20486-BBD Document 21 Filed 07/15/05 Page 2 of 5 PagelD 31

Case No: 2:04CR20486-01 Defendant Name: Anderson M. THOMPSON Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive devicel or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher tan(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shail not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofncer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20486-BBD Document 21 Filed 07/15/05 Page 3 of 5 PagelD 32

Case No: 2:04CR20486-O1 Defendant Name: Anderson M. THOMPSON Page 3 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation ocher to make such notifications and to contin'n the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBATION

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall perform 500 hours of community service as a condition
of supervision Court recommends that defendant’s community service be
served in an inner-city environment.

2. The defendant shall cooperate with DNA collection as directed by the
Probation Officer.

CR|M!NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penaities in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution

$100.00 $500.00 $80.43
The Special Assessment shall be due immediately.

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A Fine in the amount of $ 500.00 is imposed.

Case 2:04-cr-20486-BBD Document 21 Filed 07/15/05 Page 4 of 5 PagelD 33

Case No: 2:04CR20486-01 Defendant Name: Anderson M. THOMPSON Page 4 of 4

REST|TUTiON

Restitution in the amount of $80.43 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed beiow.

Priority
Tota| Amount of Order
Name of Pa!ee Amount Restitution Ordered or
of Loss Percentage
of Payment
MARGARET ARNW|NE $30.43 $30.43
CATHY REML|NG $50.00 $50.00

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:
The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. Defendant to notify
the Court and the United States Attorney of any material change in economic
circumstances that may affect defendant's ability to pay restitution.

Unless the court has expressly ordered othenNise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment A|| criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons' inmate Financiai Responsibi|ity Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
ease 2:04-CR-20486 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Leslie I. Bailin

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1\/lemphis7 TN 38103

Vaieria Rae Oiiver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

